                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF WISCONSIN
___________________________________________________________________________________________
In the Matter of:
CHARLES ANDREW HOFFKINS                             Chapter 13
SUZANNA MARIE HOFFKINS                              Case No. 15-30114-SVK
                 Debtors.
___________________________________________________________________________________________

           TRUSTEE’S OBJECTION TO CONFIRMATION OF DEBTORS' PROPOSED
      CHAPTER 13 PLAN AND NOTICE OF TRUSTEE'S OBJECTION TO CONFIRMATION
___________________________________________________________________________________________

Scott Lieske, Standing Chapter 13 Trustee has filed papers with the court objecting to the proposed plan filed by
the Debtors.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney,
if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

The Trustee, Scott Lieske, hereby objects to the proposed Chapter 13 Plan in this bankruptcy proceeding for the
following reason(s):

        The proposed plan is not feasible.

The Trustee respectfully requests that a hearing be set in this matter.

        Dated at Milwaukee, Wisconsin, on January 22, 2018


                                                  OFFICE OF CHAPTER 13 TRUSTEE

                                                  /s/__________________________________
                                                  Scott Lieske, Chapter 13 Trustee
                                                  Robert W. Stack, Staff Attorney
                                                  Christopher D. Schimke, Staff Attorney
                                                  Sandra M. Baner, Staff Attorney

P.O. ADDRESS:
P.O. Box 510920
Milwaukee, WI 53203
414-271-3943
414-271-9344 (Fax)
info@chapter13milwaukee.com




                     Case 15-30114-svk          Doc 78      Filed 01/22/18      Page 1 of 2
                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF WISCONSIN

  In the Matter of:                                                 Chapter 13
  CHARLES ANDREW HOFFKINS &                                         Case No. 15-30114-SVK
  SUZANNA MARIE HOFFKINS,
                    Debtors.


                                         CERTIFICATE OF SERVICE


         I hereby certify that on January 22, 2018, the TRUSTEE’S OBJECTION TO CONFIRMATION OF
DEBTORS' PROPOSED CHAPTER 13 PLAN AND NOTICE OF TRUSTEE'S OBJECTION TO
CONFIRMATION in this case were electronically filed with the Clerk of Court and served upon the following
parties using the ECF system:

                        OFFICE OF THE U.S. TRUSTEE
                        NICKOLAI & POLETTI, LLC

      I further certify that I have mailed by United States Postal Service the same documents to the following
non-ECF participants:

                        CHARLES ANDREW HOFFKINS & SUZANNA MARIE HOFFKINS
                        705 COBB ROAD
                        ELKHORN, WI 53121

        Dated: January 22, 2018


                                                /s/_____________________________
                                                Tongula Washington
                                                Administrative Assistant
                                                Office of the Chapter 13 Trustee
                                                P.O. Box 510920
                                                Milwaukee, WI 53203
                                                T: (414) 271-3943
                                                F: (414) 271-9344




                   Case 15-30114-svk          Doc 78     Filed 01/22/18        Page 2 of 2
